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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

    UNITED STATES OF AMERICA,          §
                                       §
                     Plaintiff,        §
                                       §
 v.                                    §        CASE NO. 7:19-CV-270
                                       §
 30.00 ACRES OF LAND, MORE OR          §
 LESS, SITUATE IN HIDALGO COUNTY, §
 STATE OF TEXAS; AND ALEIDA            §
 FLORES aka ALEIDA GARCIA,             §
                                       §
                    Defendants.        §
______________________________________________________________________________

                            JOINT STATUS UPDATE
______________________________________________________________________________

         The parties file this Joint Status Report, in response to the District Court’s October 15,

2019 Order 1 and in preparation of the status conference scheduled for February 25, 2020, and

inform the Court as follows:

     1. On August 5, 2019, Plaintiff filed a Complaint in Condemnation 2 and Declaration of

Taking 3 pursuant to 40 U.S.C. §§ 3113 and 3114 for the taking of a temporary easement to enter

in, on, over, and across Defendants’ real property located in Hidalgo County, Texas.

     2. Defendant filed an Answer 4 to the Complaint on October 3, 2019.

     3. An Order for Conference 5 was issued and an Initial Pretrial and Scheduling Conference

was set for October 16, 2019.




1
  Dkt. No. 17.
2
  Dkt. No. 1
3
  Dkt. No. 2
4
  Dkt. No. 13
5
  Dkt. No. 4
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    4. On October 15, 2019 the Court issued an Order 6 setting deadlines and canceling the Initial

Pretrial Conference. As part of this Order the Court set a deadline of January 10, 2020, to file any

Motions for Immediate Possession.

    5. The United States however, had filed an Opposed Motion for Order of Immediate

Possession 7 on October 11, 2019, and Defendant filed her Response 8 to the Opposed Motion for

Immediate Possession on November 1, 2019.

    6. The United States has agreed to give Defendant 72 hour prior notice before entering the

property to conduct the survey. The parties have conferred over the possibility of reaching an

agreement regarding possession of the property for purpose of the right of entry but have not been

able to reach an agreement.

    7. On January 28, 2020, the United States filed an Opposed Motion for a Hearing on the

Opposed Motion for Order of Immediate Possession. 9

    8. Attorneys for all parties have conferred and discussed the matter of just compensation for

the Right of Entry but parties have not been able to reach an agreement.

    9. Thus, the parties request the status conference scheduled for February 25, 2020, at 9:00

a.m. continue as a Scheduling Conference.




6
  Dkt. No. 17.
7
  Dkt. No. 16.
8
  Dkt. No. 18.
9
  Dkt. No. 19.
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      FOR DEFENDANTS                                         FOR PLAINTIFF:

By:   s/ Ricardo A. Garza__(with permission)                 Respectfully submitted,
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                                  CERTIFICATE OF SERVICE

          I certify that on January 31, 2020, a copy of the foregoing was electronically filed in the

CM/ECF system, which will automatically serve a Notice of Electronic Filing on counsel of

record.


                                                By:     s/ Hilda M. Garcia Concepcion________
                                                        HILDA M. GARCIA CONCEPCION
                                                        Assistant United States Attorney




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